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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                     17-CR-683 (LAP)

     -against-

                                                     Oral Argument Requested
CHUCK CONNORS PERSON and RASHAN MICHEL,

                      Defendants.




        DEFENDANT CHUCK CONNORS PERSON’S SUPPLEMENTAL
          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
    JOINT MOTION TO SUPPRESS WIRETAP AND CELL PHONE EVIDENCE




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        Defendant Chuck Connors Person respectfully submits this supplemental memorandum

of law in support of his joint motion to suppress the following: (1) all communications

intercepted pursuant to orders issued on December 9, 2016, January 9, 2017, January 26, 2017,

February 10, 2017, April 27, 2017, and May 25, 2017 (the “Wiretap Orders”); (2) all material

obtained from the search of his and Rashan Michel’s cell phones pursuant to warrants issued on

November 3, 2017, and November 6, 2017 (the “Warrants”); and (3) all evidence derived

therefrom. This supplemental memorandum of law addresses the impact of the Superseding

Indictment returned on May 31, 2018, after Mr. Person and his co-defendant Rashan Michel

(collectively, “Defendants”) filed the pending motion to suppress.

                                 THE SUPERSEDING INDICTMENT

        The original wiretap application dated December 9, 2016, specified two target offenses:

wire fraud, 18 U.S.C. § 1343, and conspiracy to commit wire fraud, 18 U.S.C. § 1349. (See Ex. 1

at US_00008565.1) In their joint motion to suppress and in their respective motions to dismiss,

Defendants attacked the viability of the government’s wire fraud theory as alleged in the original

Indictment, according to which Defendants had conspired to deprive Auburn of its intangible

right to control the allocation of scholarships to men’s basketball players. This theory was

defective for many reasons; for one, it would have criminalized virtually every single

undisclosed NCAA rules violation.

        Instead of defending this flawed theory, the government abandoned it completely in the

Superseding Indictment returned on May 31, 2018. According to the new theory of wire fraud

alleged in Count Five of the Superseding Indictment, Mr. Person supposedly defrauded Auburn




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        The exhibits cited herein were filed under seal as attachments to the Notice of Joint Motion to Suppress
Wiretap and Cell Phone Evidence, ECF No. 58.



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into paying his salary by making “material misrepresentations to Auburn University, including in

written agreements and certification forms submitted to Auburn University, that concealed the

existence of bribe payments that Person had received in violation of NCAA rules and Person’s

duties to Auburn University.” (See Superseding Indictment ¶ 54.) In support of this new theory,

the Superseding Indictment now references three specific documents that were not in the original

charging instrument or in any of the wiretap applications: Mr. Person’s employment agreement

dated August 24, 2016; an “ethical conduct agreement” dated August 23, 2017; and an

“Employee Disclosure Form” dated August 23, 2017. (See id. ¶¶ 23–26.)

                               SUPPLEMENTAL ARGUMENT

       A wiretap order must be supported by probable cause to believe “that an individual is

committing, has committed, or is about to commit a particular offense enumerated in [18 U.S.C.

§ 2516].” 18 U.S.C. § 2518(3)(a). “The standard for probable cause applicable to § 2518 is ‘the

same as the standard for a regular search warrant.’” United States v. Diaz, 176 F.3d 52, 110 (2d

Cir. 1999) (quoting United States v. Fury, 554 F.2d 522, 530 (2d Cir. 1977)). Thus, probable

cause exists only “if the ‘totality-of-the-circumstances’ indicate a probability of criminal

activity.” Id. (citing Illinois v. Gates, 462 U.S. 213, 230–32 (1983)). Probable cause means a

“fair probability,” Gates, 462 U.S. at 238, and “requires more than a ‘mere suspicion’ of

wrongdoing,” Walczyk v. Rio, 496 F.3d 139, 156 (2d Cir. 2007) (quoting Mallory v. United

States, 354 U.S. 449, 455 (1957)). The government must establish probable cause for each

element of the suspected crime. See Williams v. Alexander, Ark., 772 F.3d 1307, 1312 (8th Cir.

2014) (“For probable cause to exist, there must be probable cause for all elements of the

crime . . . .”); United States v. Joseph, 730 F.3d 336, 342 (3d Cir. 2013) (“To make an arrest

based on probable cause, the arresting officer must have probable cause for each element of the




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offense.”); see also United States v. Nelson, No. 10 Cr. 414 (PKC), 2011 WL 1327332, at *3

(S.D.N.Y. Mar. 31, 2011) (considering whether defendant’s arrest for disorderly conduct was

supported by probable cause as to “each element” of the offense).

        Here, at a minimum, the government’s complete disavowal of the original wire fraud

theory represents a remarkable concession that it obtained wiretaps of Defendants’ phones based

entirely upon an invalid theory of wire fraud. There can be no doubt that the government’s

original wiretap application was predicated upon the old wire fraud theory, which centered on

Auburn University’s intangible right to control the allocation of its scholarships to men’s

basketball players. The application specified two target offenses – wire fraud and wire fraud

conspiracy – and focused on NCAA regulations governing the eligibility of college athletes.

(See, e.g., Ex. 1 at US_00008602 – US_00008604.) The government no longer defends this

untenable theory. (See Ex. 1 at US_00008565.)

        Moreover, the new wire fraud theory cannot save the wiretaps from suppression. Apart

from its legal defects, the wiretap applications fail to contain any facts, let alone establish a “fair

probability,” to support the conclusion that Mr. Person fraudulently obtained his salary by

misrepresenting his compliance with NCAA rules.2 Indeed, given that the new wire fraud theory

emerged only during the pendency of this case, none of the new facts alleged in the Superseding

Indictment are mentioned in the wiretap applications. Specifically, the Superseding Indictment

references for the first time three documents: Mr. Person’s 2016 employment agreement, an

“ethical conduct agreement,” and an “Employee Disclosure Form.” The new wire fraud theory

alleges that Mr. Person concealed his failure to comply with NCAA rules in these three




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         Mr. Person addresses the legal defects in the new wire fraud theory in his reply memorandum of law in
support of his motion to dismiss. He incorporates those arguments by reference herein.



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documents. (See Superseding Indictment ¶¶ 23–26, 54.) Despite the obvious significance of these

documents to the new wire fraud theory, these documents are nowhere to be found in the wiretap

applications. Nor do the wiretap applications describe Mr. Person’s salary, which is now the

alleged object of the wire fraud charge in the Superseding Indictment. (See id. ¶ 23.) Across all

six wiretap applications, there exists not a single reference to any representation made by Mr.

Person to Auburn.

        In sum, the government’s belated retraction of its original wire fraud theory in this case

vitiates the probable cause findings made in the Wiretap Orders. Absent a single fact about Mr.

Person’s supposed misrepresentations to Auburn, the first wiretap application could not have

possibility have created a “fair probability” to believe that Mr. Person made a material

misrepresentation to Auburn – an essential element of the new wire fraud theory. This deficiency

in the first application, which was premised exclusively on wire fraud and wire fraud conspiracy,

taints all subsequent applications, and requires suppression of all communications intercepted

pursuant to the Wiretap Orders. See United States v. Cirillo, 499 F.2d 872, 878 n.3 (2d Cir. 1974)

(“Since the application for these extensions was based on conversations intercepted as a result of

the first order, if the first order were invalid, the subsequent extensions would be ‘tainted’ by the

primary illegality.”).




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                                              CONCLUSION

        For the foregoing reasons, and for the reasons set forth in Defendants’ joint memorandum

of law dated April 30, 2018, Defendant Chuck Connors Person respectfully moves for an order

suppressing all communications intercepted pursuant to the Wiretap Orders, all material obtained

from the searches of Defendants’ cell phones, and all evidence derived therefrom.3

Dated: New York, New York
       July 27, 2018

                                                             Respectfully submitted,

                                                             /s/ Theresa Trzaskoma

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        Mr. Person also joins in all arguments advanced by his co-defendant Rashan Michel in support of the
pending motion to suppress and incorporates those arguments by reference herein.



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